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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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     SATVEER KAUR,                                       CASE NO. 1:24-CV-00543 KES-BAM
11
                                  Plaintiff,             STIPULATION AND [PROPOSED] ORDER FOR
12                                                       FIRST EXTENSION OF TIME
                            v.
13                                                       ORDER CONTINUING SCHEDULING
     USCIS, ET AL.,                                      CONFERENCE
14
                                  Defendant.             Scheduling Conference:          October 9, 2024
15                                                                                       9:30 AM
                                                                                         Courtroom 8 (BAM)
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            Defendants respectfully requests a first extension of time in which to respond to the Complaint,
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     and counsel for Plaintiff does not oppose. This case concerns a Form I-130 petition for alien relative
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     that Plaintiff Kaur filed on behalf of her noncitizen spouse. U.S. Citizenship and Immigration Services
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     (“USCIS”) has scheduled an interview on Plaintiff’s petition for July 22, 2024. The parties anticipate
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     that USCIS will be able to complete the adjudication of Plaintiff’s petition following the completion of
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           Case 1:24-cv-00543-KES-BAM Document 9 Filed 06/28/24 Page 2 of 3

 1 the interview, which is expected to render this lawsuit moot. The parties therefore stipulate that the new

 2 date for Defendants to file an answer or other dispositive pleading is September 20, 2024.

 3          The parties further request that all other filing deadlines be similarly extended, including the

 4 scheduling conference currently set for August 7, 2024 and its accompanying deadlines.

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 6 Respectfully submitted,

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 8   Dated: June 27, 2024                                    PHILLIP A. TALBERT
                                                             United States Attorney
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10                                                     By: /s/ ELLIOT C. WONG
                                                           ELLIOT C. WONG
11                                                         Assistant United States Attorney
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13                                                           /s/ JONATHAN STURMAN
                                                             JONATHAN STURMAN
14                                                           Counsel for Plaintiff
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 1                                                  ORDER

 2          Pursuant to the parties’ stipulation and good cause appearing, Defendant shall have until
 3 September 20, 2024 to respond to Plaintiff’s complaint. The Scheduling Conference set for August 7,

 4 2024 is CONTINUED to October 9, 2024, at 9:30 AM in Courtroom 8 (BAM) before Magistrate

 5 Judge Barbara A. McAuliffe. The parties shall file a joint scheduling report on or before October 2,

 6 2024. This conference will be vacated if the parties inform the Court that they have resolved this matter.

 7 The parties shall appear at the conference remotely either via Zoom video conference or Zoom

 8 telephone number. The parties will be provided with the Zoom ID and password by the Courtroom

 9 Deputy prior to the conference. The Zoom ID number and password are confidential and are not to be

10 shared. Appropriate court attire required.

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12 IT IS SO ORDERED.

13      Dated:    June 28, 2024                              /s/ Barbara A. McAuliffe             _
14                                                    UNITED STATES MAGISTRATE JUDGE

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